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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA              )
                                      )
V.                                    )        Case No. 1:23-CR-00426-JEB-1
                                      )
PHILLIP CRAWFORD                      )

                DEFENDANT PHILLIP CRAWFORD’S MOTION
                 FOR LIMITED TRAVEL OUT OF DISTRICT

        COMES NOW Phillip Crawford (“Mr. Crawford”) and files this Motion to

authorize limited travel outside of the Northern District of Georgia to the Middle

District of Florida for a family vacation from June 24 through June 29, 2024.

                                          1.

        Mr. Crawford was released on bond on July 12, 2023 with the agreement of

the Government.

                                          2.

        The conditions of Mr. Crawford’s bond limit his travel to the Northern

District of Georgia and the District of Columbia.

                                          3.

        Mr. Crawford has worn an ankle monitor with GPS since his release on

bond.




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                                           4.

      Mr. Crawford has never been unaccounted for or unresponsive to

probation.

                                           5.

      Mr. Crawford has appeared at each hearing set by the Court since his release

on bond almost a year ago including, most recently, a change of plea on May 17,

2024 and a bench trial on June 17, 2024.

                                           6.

      Mr. Crawford’s sentencing is set for October of 2024. Prior to sentencing,

Mr. Crawford would like to go with his family – his wife, Stephanie, and his three

children, his mother and father, his sister and her family, cousins and others – on

a family vacation for four days to Daytona Beach, Florida.

                                           7.

      Counsel has conferred with Mr. Crawford’s supervising probation officer

who expressed concern about the functioning of the GPS device if exposed to sand

and water. Mr. Crawford understands the concern and does not plan to be in

water. Moreover, he will wear a specially ordered, waterproof leg cast cover over

his leg any time near sand. An image follows:




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                                          8.

       Moreover, Mr. Crawford, of course, is available by phone and is still subject

to the conditions of release requiring him to follow the directives of his probation

officer. Accordingly, should the functioning of the GPS equipment become an

issue, Mr. Crawford would be willing to report to the closest federal probation

office in the Middle District of Florida as a level of accountability.

                                          9.

       Counsel has reached out to the government but hasn’t received a response

as of this filing.


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      WHEREFORE, Mr. Crawford respectfully requests that the Court grant him

permission to travel to Daytona Beach, Florida from June 24 through June 29, 2024

for a family vacation. A proposed Order is attached.

      Dated: This 21st day of June, 2024.

                                     Respectfully submitted,

                                     /s/ Thomas L. Hawker
                                     THOMAS L. HAWKER
                                     Georgia Bar No. 338670
                                     Attorney for Phillip Crawford

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